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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

    In re:                                      ) Chapter 11
                                                )
    DORMIFY, INC., 1                            ) Case No. 24-12634 (TMH)
                                                )
                 Debtor.                        ) Related to Docket No. 151

      THIS NOTICE RELATES TO AN AUCTION IN WHICH THE DEBTOR PROPOSES
                    SELL SUBSTANTIALLY ALL OF ITS ASSETS.


                              NOTICE OF REOPENED AUCTION

        PLEASE TAKE NOTICE that, on February 21, 2025, the United States Bankruptcy
Court for the District of Delaware (the “Court”) entered that certain Order (I)(a) Approving
Bidding Procedures for the Sale of the Debtor’s Assets and the Form and Manner of Notice
Related Thereto, (b) Authorizing the Debtor to Select a Stalking Horse Bidder and Enter into a
Purchase Agreement with Such Bidder Providing for Certain Bid Protections, and (c) Approving
Procedures for the Assumption and Assignment of Executory Contracts and Unexpired Leases;
(II) Scheduling the Auction and the Hearing to Consider Approval of the Sale, and (III) Granting
Related Relief [D.I. 151] (the “Bidding Procedures Order”),2 which approved, among other things,
procedures (the “Bidding Procedures”) pursuant to which Dormify, Inc. (the “Debtor”) is
authorized to solicit and pursue a sale of substantially all of the Debtor’s assets (the “Assets”) under
section 363 of the Bankruptcy Code (the “Sale”). An Auction was held on April 21, 2025, at which
certain of the Assets were sold. All interested bidders should carefully read the Bidding
Procedures Order and the Bidding Procedures in their entirety.

        PLEASE TAKE FURTHER NOTICE that pursuant to the Bidding Procedures, the
Debtor plans to reopen the Auction for the sale of certain remaining previously marketed inventory
assets (the “Remaining Inventory Assets”). A list of the Remaining Inventory Assets is available
upon request to undersigned counsel.

       PLEASE TAKE FURTHER NOTICE that all parties which seek to bid on the Debtor’s
Remaining Inventory Assets are required to place a bid via email by June 27, 2025 at 4:00 P.M.
(ET). Bids are required to be sent via email to Goldstein & McClintock LLLP, Attn: Maria
Aprile Sawczuk (marias@goldmclaw.com), Joshua Grenard (joshuag@goldmclaw.com),
and William Thomas (willt@goldmclaw.com). Such bidding parties will be deemed Qualified
Bidders as to the Remaining Inventory Assets.



1
  The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax
identification number, is: Dormify, Inc. (5123). The address of the Debtor’s corporate headquarters
is P.O. Box 170376, Brooklyn, NY 11217.
2
  Capitalized terms used but not defined have the meanings ascribed to them in the Bidding
Procedures Order.
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        PLEASE TAKE FURTHER NOTICE that pursuant to the Bidding Procedures Order,
the Debtor is authorized to reopen the Auction for the Remaining Inventory Assets. The Auction
will occur on July 2, 2025 at 10:00 A.M. (ET)/9:00 A.M. (CT) remotely via the following Zoom
link:

                                Zoom Link and Information:
   https://us02web.zoom.us/j/89157799696?pwd=iLMWJu7uumJxmz64U5kYSfJ3zzGJJB.1

                                    Meeting ID: 891 5779 9696
                                        Passcode: 751650

         Only (a) Qualified Bidders as to the Remaining Inventory Assets and their legal and
financial advisors, (b) the Consultation Parties and their respective advisors, and (c) actual
creditors of the Debtor (provided that they give at least 48 hours’ notice to the Debtor’s counsel of
their intention to attend an Auction via email to Goldstein & McClintock LLLP, Attn: Maria Aprile
Sawczuk (marias@goldmclaw.com), Joshua Grenard (joshuag@goldmclaw.com) and William
Thomas (willt@goldmclaw.com), shall be entitled to attend the Auction. If an Auction is
cancelled, the Debtor shall file a notice of cancellation of the Auction.

                                                GOLDSTEIN & MCCLINTOCK LLLP

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                                                -and-

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                                                Attorneys for the Debtor and Debtor-in-
                                                Possession




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